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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

THOMAS QUINN, et al.,

               Plaintiffs,

               v.                                             CASE NO. 25-3085-JWL

STATE OF KANSAS, et al.,

               Defendants.


                                MEMORANDUM AND ORDER

       Plaintiffs bring this pro se civil rights action under 42 U.S.C. § 1983. The Plaintiffs are:

Thomas Quinn; Daniel Logsdon; Damerius McGee; Travis Layne; James Watkins; and Alonzo

Lax, Jr. At the time of filing, all Plaintiffs were in custody at the Riley County Jail in Manhattan,

Kansas (“RCJ”). The Court has since received return mail indicating that Plaintiff Alonzo Lax,

Jr., is no longer housed at the RCJ and is now incarcerated at the El Dorado Correctional Facility.

(Doc. 12.)

       On June 11, 2025, the Court entered a Memorandum and Order to Show Cause (Doc. 11)

(“MOSC”) granting Plaintiffs until July 11, 2025, to show good cause why the Complaint should

not be dismissed for the reasons set forth in the MOSC. The MOSC provides that “[f]ailure to

respond by the deadline may result in dismissal of this case without further notice.” (Doc. 11, at

11.) None of the Plaintiffs have filed a response to the MOSC by the Court’s deadline.

       The Court found in the MOSC that the Court may be prohibited from hearing Plaintiffs’

claims regarding their state court proceedings under Younger v. Harris, 401 U.S. 37, 45 (1971).

The Court also found that violation of a state statute is not grounds for relief under § 1983; the

State of Kansas and its agencies are entitled to Eleventh Amendment immunity; the state court



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judges are entitled to judicial immunity; the county prosecutors are entitled to prosecutorial

immunity; and to the extent Plaintiffs seek to have their state criminal case dismissed such relief

must be sought in a habeas corpus proceedings.

       Plaintiffs have failed to respond to the Court’s MOSC by the Court’s deadline and have

failed to show good cause why the Complaint should not be dismissed for the reasons set forth in

the Court’s MOSC.

       IT IS THEREFORE ORDERED BY THE COURT that this matter is dismissed

without prejudice.

       IT IS SO ORDERED.

       Dated July 18, 2025, in Kansas City, Kansas.

                                             S/ John W. Lungstrum
                                             JOHN W. LUNGSTRUM
                                             UNITED STATES DISTRICT JUDGE




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